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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK


 EXPRESS GOLD CASH, INC.,
                                                                      1:22-cv-352
                              Plaintiff,                  Case No..: _________________

                -vs-
                                                          VERIFIED COMPLAINT
 C.J. ENVIRONMENTAL, INC. d/b/a                           AND JURY DEMAND
 CASHFORGOLDUSA.COM,
 EMMA JOHNSON INC. d/b/a
 WEALTHYSINGLEMOMMY.COM,
 STEER DIGITAL LTD, DANIEL BROWN,
 and ADAM TOUTAIN ,

                              Defendants.


       Plaintiff Express Gold Cash, Inc. (“Plaintiff”), by its attorneys, Hashmi Law Firm, for

its   Complaint    against    CJ    Environmental,        Inc.   d/b/a   CashForGoldUSA.com

(“CashForGoldUSA”),          Emma    Johnson       Inc.     d/b/a   WealthySingleMommy.com

(“WealthySingleMommy”), Steer Digital LTD (“Steer”), Daniel Brown (“Brown”), and

Adam Toutain (“Toutain”) alleges as follows:

                                NATURE OF THE ACTION

       1.      This is an action for false advertising, deceptive business practices, and unfair

competition arising from CashForGoldUSA’s false and misleading advertising and marketing

campaign for its mail-in precious metals buying service offered to consumers in New York

and throughout the United States.

       2.      Amongst other things, CashForGoldUSA: (1) publishes false and misleading

statements on its own website and internet search results; (2) uses an artificially inflated

“review” system to brazenly lie to consumers about its standing in the marketplace; (3)



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maintains an exclusive relationship with Steer, Brown, and Toutain who registered, created,

maintained, and marketed a fraudulent “independent” review website; and (4) maintains an

exclusive relationship with WealthySingleMommy who registered, created, maintained, and

marketed a paid affiliate website that knowingly publishes false and misleading statements

about CashForGoldUSA and deceptively promotes CashForGoldUSA through a fraudulent

“secret shopper” style “experiment.” CashForGoldUSA employs the foregoing tactics in a

systematic bait and switch scheme to swindle consumers.

       3.      CashForGoldUSA,       in   concert    with      Steer,   Brown,   Toutain,   and

WealthySingleMommy, has generated millions of dollars by luring innocent consumers into

falsely believing they are dealing with a highly rated high paying gold buying service that pays

“three times more” than its competitors. In reality, CashForGoldUSA pays nowhere near

what it promises and does not honor its fraudulent guarantees and representations.

       4.      CashForGoldUSA directly competes with Plaintiff in New York and

elsewhere. As a result, in addition to causing injury to consumers, CashForGoldUSA’s false

and misleading campaign results in the direct diversion of sales and decreased goodwill

associated with the competing services offered by Plaintiff.

       5.      By this lawsuit, Plaintiff seeks to (i) enjoin Defendants from publishing any

further false and misleading claims about CashForGoldUSA’s services and from engaging in

deceptive business practices; (ii) require Defendants to issue corrective advertising; and (iii)

recover monetary damages for the harm sustained by Defendants’ false and misleading claims

and deceptive business practices.




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                                       THE PARTIES

       6.      Plaintiff is a New York corporation having its primary place of business at 100

Main Street, Suite 14, Salamanca, New York 14779.

       7.      Upon information and belief, CashForGoldUSA is a Massachusetts

corporation with its principal office at 15 Dan Road, Canton, MA 02021.

       8.      Upon information and belief, WealthySingleMommy is a New York

corporation with its principal office at 3006 29th Street #4F, Astoria, NY 11102.

       9.      Upon information and belief, Steer is a foreign corporation and Brown is an

individual residing at Steer’s principal office located at 4 Westlands, Bransgore, Christchurch,

England BH23 8BY.

       10.     Upon information and belief, Toutain is an individual residing at 685 Allen

Avenue, Portland, Maine 04103.

                   SUBJECT MATTER JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction over this action pursuant to the

Lanham Act, 15 U.S.C. § 1125(a), and 28 U.S.C. §§ 1331 and 1332. This Court has

supplemental jurisdiction over the related state law claims pursuant to 28 U.S.C. § 1367(a).

       12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) in that

Defendants are subject to personal jurisdiction in this District at the time this action was

commenced and a substantial part of the events or omissions on which the claims in this

action are based occurred in this District. Venue is also proper in this District pursuant to 28

U.S.C. § 1391(c) because Defendants are deemed to reside in this District.




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                               PERSONAL JURISDICTION

       13.      This Court has personal jurisdiction over WealthySingleMommy because it is

a corporation whose principal office is located and registered in the State of New York, and

it can therefore be sued in the State of New York. Additionally, WealthySingleMommy, by

and through the direction and/or approval of CashForGoldUSA, registered, created, and

maintained      deceptive   interactive   review    pages    on   its   website     located   at

“wealthysinglemommy.com,” which sends New York-based customers to conduct business

with CashForGoldUSA and intentionally harms EGC in New York. Further, on its own

website, WealthySingleMommy selects the State of New York as the exclusive forum in

connection with its “privacy policy”; therefore, there is no basis to defeat personal

jurisdiction.

       14.      This Court has personal jurisdiction over CashForGoldUSA, Steer, Brown,

and Toutain pursuant to N.Y. C.P.L.R. §§ 302(a)(1), 302(a)(3)(i) and 302(a)(3)(ii).

       15.      CashForGoldUSA has purposefully projected itself into New York to engage

in the sustained and substantial transaction of business and has engaged in an ongoing regular

course of conduct in New York.

       16.      CashForGoldUSA advertises itself as a nationwide mail-in precious metals

dealer, states that it has paid over $156 million to customers, and has over 350 online reviews

from customers throughout the nation, including New York.

       17.      CashForGoldUSA does not maintain any storefront locations in the United

States. Instead, CashForGoldUSA conducts its business by mail order and internet

transactions      through      a      highly       interactive    website,        located     at

https://www.cashforgoldusa.com. It also operates similar websites located at the following




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URLs:     https://www.cashfordentalscrap.com,         https://cashfordiamondsusa.com,      and

https://cashforsilverusa.com.

        18.     CashForGoldUSA actively solicits and purchases items from customers in

New York. CashForGoldUSA specifically targets its activities in New York by inviting users

to order appraisal kits using an online form that displays New York as one of the 50 states in

a dropdown list. CashForGoldUSA transmits services to users across the nation and in New

York, where Plaintiff operates in direct competition with CashForGoldUSA.

        19.     CashForGoldUSA’s websites provide information, invite access to telephonic

and electronic email communication with a customer service representative, describe the

services offered by CashForGoldUSA, and invite consumers to complete an online

registration form to obtain an appraisal kit to get started.

        20.     CashForGoldUSA processes transactions and markets its services nationwide

and to New York customers via US mail, electronic mail, and telephonic communications.

CashForGoldUSA mails promotional materials and prepaid shipping labels to customers

with New York delivery addresses, and responding customers use these shipping labels to

mail their items to CashForGoldUSA for appraisal. CashForGoldUSA sends emails to New

York customers notifying them of the appraisal and responding to their questions and

concerns. CashForGoldUSA engages in telephonic communications with New York

customers to complete transactions, facilitate returns, answer questions, and process appraisal

kit requests.

        21.     CashForGoldUSA uses pay-per-click advertising, ad retargeting, YouTube and

social media sites to flood the online marketplace with advertisements that attract customers

across the nation, including New York.




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       22.    Steer, Brown, Toutain, and WealthySingleMommy have purposefully

projected themselves into New York to engage in the sustained and substantial transaction of

business and have engaged in an ongoing regular course of conduct in New York.

       23.    Steer, Brown, and Toutain, by and through the direction and/or approval of

CashForGoldUSA, registered, created, and maintained a deceptive interactive review website

located at https://www.cashforgoldcomparison.com.

       24.    The website held itself out as an independent source of information even

though Steer and Brown had an undisclosed exclusive business relationship with

CashForGoldUSA. The website allowed consumers to view the purported results of a series

of “test” transactions conducted with CashForGoldUSA and four of its competitors,

including Plaintiff. The website allowed consumers to click on the corresponding hyperlinks

to visit any one of the five competitors, including CashForGoldUSA and Plaintiff. The

website claimed that it conducted a test transaction with Plaintiff in New York, and it used

the results of that test transaction to create the purportedly “independent” review website that

ranked CashForGoldUSA as the highest paying. Additionally, two of the other listed

competitors are located in New York. Accordingly, Steer and Brown, in concert with Toutain,

allegedly ordered appraisal kits and engaged in three “test” transactions in New York or with

New York-based businesses.

       25.    Steer, Brown, and Toutain, in concert with CashForGoldUSA, used pay-per-

click advertising to flood the online marketplace with advertisements for the website to attract

customers across the nation, including New York.

       26.    The website, in combination with the three test transactions, are purposeful

actions directed at New York which bear a substantial relationship to the causes of action




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asserted herein.

       27.    Further, by committing the tortious acts of creating the website and engaging

in the purportedly “independent” test transactions in New York, Steer, Brown, and Toutain

expect or should reasonably expect the acts to have consequences in New York. Additionally,

through their exclusive financial relationship with CashForGoldUSA, Steer, Brown, and

Toutain derive substantial revenue from interstate commerce.

       28.    Defendants jointly and collectively used the above-referenced means of

communication to purposefully direct false advertising and deceptive conduct in New York,

resulting in competitive harm to Plaintiff.

                                FACTUAL ALLEGATIONS

       29.    Mail-in precious metals dealers allow ordinary consumers to sell their precious

metals and jewelry without leaving their homes. These consumers often do not know the true

value of their items and have little or no experience selling them online.

       30.    A participating customer typically visits a website found through an internet

search and requests a free appraisal kit from a mail-in precious metals dealer. The dealer mails

the appraisal kit to the customer. The customer uses the enclosed prepaid shipping label in

the kit to send items for appraisal to the dealer. The customer receives an offer for the items

and can accept or decline it. If the customer is not satisfied with the appraisal, the items are

returned to the customer free of charge.

       31.    Since 2010, there has been a significant decline in the number of mail-in

precious metals dealers. From 2010 until the present date, Plaintiff and SellYourGold.com

are historically the top two remaining competitors in the industry. During most of this

timeframe, CashForGoldUSA had a small market share.




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          32.      However, since at least 2021, CashForGoldUSA’s market share has increase

significantly after publishing the false advertisements and adopting the deceptive practices

alleged herein.

I.        CashForGoldUSA, in concert with Steer, Brown, and Toutain, Created a Fake
          “Independent” Review Website to Divert Customers Away from Plaintiff

          A.       CashForGoldUSA’s Old “Independent” Review Website Scam

          33.      CashForGoldUSA.com states that an “independent stud[y]” conducted by

CashForGold-scam.com revealed that CashForGoldUSA “pay[s] more than anyone else in

the cash for gold industry.” Below is a highlighted screenshot.1




          34.      The referenced website “CashForGold-Scam.com” no longer exists and it was

itself a scam created by CashForGoldUSA.

          35.      In 2011, CashForGold-Scam.com purported to be an objective and

independent website that ranked seven online gold buyers. The website called itself a



1
    Available at: https://cashforgoldusa.com/gold-price/price-of-gold/


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“Consumer News Report” and claimed that its rankings were based on “Official Test Results”

involving identical sets of gold jewelry and silver coins sent to competing online gold buyers.

An archived version of the website is attached hereto as Exhibit 1.

       36.    Based on the purported “test,” the website ranked CashForGoldUSA as “#1”

on its “Official Rankings” with an offered payout of $343.89. Plaintiff was ranked #4 with an

offered payout of $174.38. The website states that “[t]he final results clearly demonstrated

that Cash for Gold USA paid over $130 more than the second-place company” and “[w]e

highly recommend Cash for Gold USA due to the fact that their pricing was fair and we felt

as though they didn’t attempt to rob us.” Below is a highlighted screenshot.




       37.    CashForGold-Scam.com presented itself as a legitimate and impartial source

of information. It published details about the “test” transactions, links to images of the payout

checks, and scam prevention tips.


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       38.    In reality, CashForGoldUSA owned, operated, and controlled the website and

used it to drive traffic to itself and away from competitors.

       39.    In 2011, CashForGold-Scam.com was registered to an individual named

“Rachel Leigh” of B Star Printing.

       40.    According to an AllPeople.com search result, Leigh used the email address

“info@sellgoldforcash.us.” Copies of the domain registration report and AllPeople.com

search results are attached hereto as Exhibit 2.

       41.    The above referenced “Rachel Leigh” is Rachel Leigh Schneider, the wife of

Cory Schneider.

       42.    Cory Schneider operates CashForGoldUSA with his father and his brothers.

       43.    In 2011, CashForGoldUSA owned, operated, and/or controlled the above-

referenced domain “SellGoldForCash.us.” The website identifies CJ Environmental, Inc. as

the owner and publishes CashForGoldUSA’s email address. Below is a highlighted

screenshot of the archived website.




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       44.    Upon information and belief, CashForGold-Scam.com continuously operated

from 2011 to 2015.

       45.    Based on these documented facts, CashForGoldUSA set up CashForGold-

Scam.com as a phony “undercover audit” website to deceive consumers, generate sales, and

drive business away from Plaintiff and other competitors. Despite all of this,

CashForGoldUSA continues to reference CashForGold-Scam.com on its website.

       B.     CashForGoldUSA’s New “Independent” Review Website Scam

       46.    On or about March 2021, a similar “independent” review website abruptly

appeared on the internet located at https://www.cashforgoldcomparison.com (the

“Fraudulent Website”). An archived version of the website is attached hereto as Exhibit 3.

       47.    The Fraudulent Website did not publish any contact information, and the

domain was anonymously registered.


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       48.    Like CashForGold-Scam.com, the Fraudulent Website purported to be an

objective and independent website that ranked five online gold buyers based on “an

undercover audit” of “the five major gold sites in the US.” Below is a screenshot.




       49.    Based on the purported “undercover audit,” the Fraudulent Website ranked

CashForGoldUSA first on the list with an offered payout of $230.00. Plaintiff was ranked

fourth on the list with an offered payout of $174.65.

       50.    The Fraudulent Website gave CashForGoldUSA a “5/5 rating.” It stated that

CashForGoldUSA is “Our Favorite” and prominently displayed the phrase “HIGHEST

PAYING.” Below is a screenshot.




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       51.    The Fraudulent Website gave Plaintiff a “3/5 rating.” Alongside Plaintiff’s

name and logo, the website states that Plaintiff is “Second Lowest Paying,” and prominently

displayed the phrase “LOW PAYING.” Below is a screenshot.




       52.    As set forth above, the Fraudulent Website contained clickable buttons that

allowed users to visit each company’s website.

       53.    When clicked, the button next to CashForGoldUSA’s listing leads to the


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company’s website at the following URL: “http://www.cashforgoldusa.com/?cid=557.” Of

the “tested” companies, this URL was the only one that included a unique identifying “CID”

number after the domain name (“?cid=557”). The URLs linked to the remaining four

company websites contained identical non-unique characters after the domain name.

          54.     Web-based businesses customarily use unique identifiers such as “CID”

numbers in “affiliate marketing” campaigns to track and financially reward people for

directing traffic to their websites.

          55.     CashForGoldUSA routinely uses “CID” numbers to track and reward its

affiliate marketers.

          56.     For example, the hyperlinks displayed on the “Surviving Divorce”2 and

“Wealthy Single Mommy”3 affiliate marketing websites point to the following website URL’s:

                  •   “https://cashforgoldusa.com/?cid=528”

                  •   “https://cashforgoldusa.com/?cid=470&aid=cashforgoldusareview”

(emphasis added).

          57.     If the Fraudulent Website was truly independent, then none of the listed

companies would have referral links. Likewise, if the Fraudulent Website was set up to

maximize potential income without bias, then all of the listed companies would have referral

links.

          58.     Additionally,    it   is   an    unlikely    coincidence      that   the   domain

CashForGoldComparison.com contains the partial name of CashForGoldUSA.

          59.     In violation of FTC standards, the Fraudulent Website failed to disclose any



2
    Available at https://www.survivedivorce.com/cash-for-gold-usa
3
    Available at https://www.wealthysinglemommy.com/cash-for-gold-usa-review/


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connection with CashForGoldUSA. Instead, visitors got the clear and false impression that

the Fraudulent Website was operated and published independently by an unbiased third

party.

         60.   The Fraudulent Website regularly appeared as a top paid Google Ad search

result alongside CashForGoldUSA. Below are annotated screenshots.




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           61.      By spending significant sums of money on expensive and competitive Google

Ads and having them appear alongside CashForGoldUSA, the creator of the Fraudulent

Website clearly ran a for-profit operation disguised as “informational” with approval and

coordination from CashForGoldUSA.

           62.     In the process, the Fraudulent Website disparaged Plaintiff, a top player in the

industry, by ranking it near the bottom of a purportedly objective list. This drove sales and

market share away from Plaintiff to CashForGoldUSA—and CashForGoldUSA knew it.

           63.     Further, the Fraudulent Website’s representation that it reviewed “the five

major gold sites in the US” was misleading because Gold Geek and reDollar are not

understood to be substantial industry players. They were merely placeholders used to drive

down ratings of the top two players in the marketplace (Plaintiff and Sell Your Gold) who are

both ranked at the bottom.

           64.     The creator of the Fraudulent Website lifted the HTML source code directly

from a United Kingdom-based website located at https://sellgoldcomparison.co.uk. The two

websites are visually identical—both “rank” gold buyers and both even contain the same UK

spelling of “jewellery.”

           65.     On its own website, CashForGoldUSA encourages consumers to “[d]o a

Google search for information and reviews about the company.”4 Upon performing said

Google search, consumers were led to the Fraudulent Site because it appeared as a top paid

Google Ad result.

           66.     Like CashForGold-Scam.com, CashForGoldUSA reaped the benefits from a

low effort but highly effective scam. The Fraudulent Website masqueraded as an independent



4
    Available at https://cashforgoldusa.com/a-guide-to-help-you-sell-gold-for-the-most-cash/


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and objective information source when it was really a fraudulent advertisement for

CashForGoldUSA, which appeared in search results alongside the Fraudulent Website.

           67.     Moreover, the purported “undercover audit” was not truly independent and

was likely fabricated, biased, and/or corrupted by CashForGoldUSA who was exclusively

affiliated with the Fraudulent Website and was knowingly profiting from unlawful and

deceptive conduct.

           68.     Prior to this lawsuit, Plaintiff sought and obtained a pre-action subpoena

directed at a web hosting company for the sole purpose of identifying the anonymous

registrant of the Fraudulent Website. Plaintiff intended to use the information to file a lawsuit

seeking the removal of the Fraudulent Website. As a result, Plaintiff confirmed the identity

of the registrants to be defendants Brown and/or Steer, a digital marketing company based in

the United Kingdom. According to its website, Steer offers affiliate marketing and pay-per-

click advertising services to their clients.5 Upon information and belief, Brown is the sole

owner of Steer.

           69.     Additionally, Plaintiff confirmed that Toutain worked in concert with Brown

and/or Steer to conduct the alleged “test” transactions. Upon information and belief,

Toutain, as the United States presence, financially benefited from the scheme and actively

assisted in corrupting the results.

           70.     CashForGoldUSA retained Steer, Brown, and Toutain to create and facilitate

the Fraudulent Website, and knowingly benefitted from the Fraudulent Website through an

exclusive affiliate marketing relationship with Steer, Brown, and Toutain.

           71.     CashForGoldUSA, Steer, Brown, and Toutain acted in concert to mislead



5
    Available at http://steerdigital.com


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consumers and tarnish Plaintiff’s brand.

       72.    On or about January 31, 2022, shortly after receiving notice that Plaintiff

discovered their identities, the Fraudulent Website was abruptly taken down.

       73.    However, the damage has been done. CashForGoldUSA has dramatically

increased its market share, tarnished Plaintiff’s brand, and siphoned customers away from

Plaintiff, all with the assistance and active participation of Steer, Brown, and Toutain. These

defendants must be held accountable.

II.    CashForGoldUSA Publishes a Fake “Paid to Date” Counter on its Website

       74.    CashForGoldUSA owns and operates a certain website located at

https://www.cashforgoldusa.com (“CashForGoldUSA.com”). Annotated screenshots of the

false and misleading portions of the website are attached hereto as Exhibit 4.

       75.    CashForGoldUSA.com displays a “Paid to Date” counter that purports to be

a real-time tabulation of the total amount of money paid out to CashForGoldUSA’s

customers since the inception of the business.

       76.    The “Paid to Date” counter is prominently displayed on every section of

CashForGoldUSA.com.

       77.    A large version of the “Paid to Date” counter appears on the homepage next to

a clickable “GET PAID TODAY” button, which leads consumers to the order form when

clicked. Below is a screenshot as of April 17, 2022.




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          78.     As of March 23, 2018, after nearly thirteen years of business, the “Paid to Date”

counter displayed $50,731,316.

          79.     The difference between the two amounts represents an improbable three-fold

increase over the course of just four years.

          80.     Meanwhile, CashForGoldUSA.com states in multiple locations that it has paid

out $50,000,000 to customers since 2005. Below are screenshots.6




          81.     Plaintiff deployed an automated web scraping tool and determined that the

total amount displayed on the “Paid to Date” counter is derived from a number generator

randomized within a fixed range operating on a continuous fixed schedule 24 hours per day,

7 days per week.



6
    Available at https://cashforgoldusa.com and https://cashforgoldusa.com/blog/


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       82.    CashForGoldUSA’s stated hours of operation are Monday through Friday 9:00

am to 5:00 pm, so the dollar amount displayed on the “Paid to Date” counter should not

fluctuate in real time 24 hours per day, 7 days per week.

       83.    Additionally, CashForGoldUSA misleads consumers by publishing appraisal

kits falsely stating it has paid “over $160 million” to customers even though the Paid to Date

Counter displayed an amount less than $160 million. Below is an excerpt from a printed

appraisal kit postmarked February 4, 2022.




       84.    Accordingly, the hundreds of millions of dollars “Paid to Date” is a fiction

meant to deceive and lure an untold number of consumers to do business with

CashForGoldUSA.


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III.     CashForGoldUSA Falsely Represents that the Website’s Interactive Gold
         Calculator Will Provide an Approximation of the Offered Payout

         A.    CashForGoldUSA Publishes False and Misleading Statements About the
               Gold Calculator on its Website

         85.   CashForGoldUSA prominently displays an interactive Gold Calculator in

numerous sections of CashForGoldUSA.com. After entering the weight and karat, the Gold

Calculator displays the current gold price, which appears to be based on the AM London Fix

price.

         86.   On the homepage, the Gold Calculator is positioned alongside a “Price Match

Guarantee” and other representations meant to attract consumers, including “Why we’re the

best choice.” Directly above the “Gold Calculator,” is the following enticing statement:

“Several clients have been paid out over $20,000 for the gold, silver and diamonds over the

years. Use the calculator below to estimate your value.” The phrase “Estimate does not reflect

payout” appears in fine print at the bottom of the Gold Calculator. Below is a highlighted

screenshot.




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       87.    The Gold Calculator and surrounding representations lead consumers to

believe that it will provide at least an approximation of the offered payout price.

       88.    In another section of the website titled “Gold Price Today in the USA,” the

Gold Calculator is positioned alongside the fraudulent Paid to Date counter, exaggerated

photographic depictions of previous payouts, representations that CashForGoldUSA beats its

competitors, and additional enticing statements. Below is a highlighted screenshot. Directly

above the Gold Calculator is the enticing statement “What’s Your Stuff Worth?” with a green

arrow connecting it to a clickable “GET PAID TODAY” button. Below is a highlighted

screenshot.




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       89.    Despite the fine print stating “Estimate does not reflect payout,” the positioning

of the Gold Calculator leads consumers to believe that the calculator will provide an

approximation of the offered payout price.

       90.    In another section of the website titled “We Buy Scrap Gold,” the Gold

Calculator is once again positioned alongside the fraudulent “Paid to Date” counter and the




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statement “Easily estimate the value of your scrap gold using our gold calculator.” Below is

a highlighted screenshot.




       91.    Once again, a green arrow connects the Gold Calculator to the “GET PAID

TODAY” button.

       92.    The fine print stating “Estimate does not reflect payout” and the positioning of

the Gold Calculator leads consumers to believe that it will provide at least an approximation

of the offered payout price.

       93.    When the information is entered into the “Gold Calculator,” a total appears

next to the “=” button, along with a clickable brightly colored button that states “SELL



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NOW? Get 10% BONUS.” When the button is clicked, an order form appears. Below is a

screenshot.




         94.   These representations and those surrounding the Gold Calculator lead

consumers to believe that the displayed price is at least an approximation of the offered payout

price.

         95.   In a section of the website titled “WHERE TO SELL YOUR GOLD (AND

HOW TO GET THE MOST FOR IT!)”, CashForGoldUSA further misleads consumers into

believing that the Gold Calculator will provide an approximation of the offered payout price

and that the offer will be within 3% to 5% of the spot price of gold. See Ex. 4-14.

         96.   That section of the website states the following, in relevant part:




         97.   The above statement invites consumers to use the Gold Calculator for an

“estimate” of “the rough value of [the] items.” The next sentence implies that the value




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returned by the Gold Calculator will approximate the “official quote” from

CashForGoldUSA.

        98.      In that same section of the website, CashForGoldUSA states the following, in

relevant part:




        99.      The above statements invite consumers to use the Gold Calculator for an

estimate of their payout and to “Calculate the Amount of Cash [they] Can Get for Gold Right

Now.”

        100.     In that same section of the website, CashForGoldUSA states the following:




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       101.   The above statement leads consumers to believe that unlike “traditional gold

buyers [who] commonly make around 20%,” an online gold business like CashForGoldUSA

“can take as little as 3-5% and still be profitable.” Accordingly, consumers expect the offered

payout price will be within 3% to 5% of the spot price of gold.

       102.   As set forth above, consumers also expect to receive a 10% bonus, which is

prominently advertised in numerous locations on the website.

       B.     CashForGoldUSA Publishes False and Misleading Statements About the
              Gold Calculator on a Standalone Website Owned by CashForGoldUSA

       103.   In addition to CashForGoldUSA.com, CashForGoldUSA publishes a

standalone website located at https://goldvaluecalculator.com, which attempts to convince

consumers to use the Gold Calculator and provides instructions on how to embed the

calculator on their own websites. Relevant portions of the standalone website are attached

hereto as Exhibit 5.

       104.   The website is owned and operated by CashForGoldUSA.

       105.   The website pretends to look like an independent website. It does not publish

CashForGoldUSA’s logo and sparsely refers to CashForGoldUSA by name. However, the

website admits that CashForGoldUSA is the owner by stating, amongst other things, (1)



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“we’ve developed online cash for gold calculator”; and (2) “Cash for Gold USA is happy to do

its part to protect customers. This cash for gold calculator is just one way we try to make the

process easier, simpler, and more profitable for all.” (emphasis added).

       106.   The Gold Calculator is embedded on the website in multiple locations and

leads to CashForGoldUSA.com when the “SELL NOW? GET 10% BONUS” button is

clicked. Underneath the Gold Calculator is a partially hyperlinked statement that reads

“powered by Cash for Gold USA.”

       107.   The website makes numerous misleading and deceptive statements about what

consumers can expect after sending their gold items to CashForGoldUSA, including the

following (with emphasis added):

              a. “It's beneficial for you to use this calculator because it will help you
                 understand how much your gold is really worth before you try to sell it on the
                 market so that you can get a fair price for your gold.”

              b. “Cash for Gold USA is happy to do its part to protect customers.”

              c. “With this cash for gold calculator at your fingertips, you will no doubt find
                 it easier and faster to figure out how much your gold is worth and what you
                 should be expecting from reputable gold buyers.”

              d. “With this handy tool, you can figure out how much your gold jewelry, gold
                 bars, or even what your scrap gold price should be.”

              e. “Be sure to spread the word about this calculator – nobody should be
                 swindled when they are selling gold! Together, we can work to ensure that those
                 who are selling their gold are protected and everybody gets a fair profit for
                 their wares.”

              f. “Cash for Gold USA is happy to do its part to protect customers. This cash
                 for gold calculator is just one way we try to make the process easier, simpler,
                 and more profitable for all.”

       108.   Additionally, by dedicating a section of the website encouraging consumers to

embed the “Free and Easy!” “Gold Calculator on their personal websites, CashForGoldUSA



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creates a mechanism to generate more customers based on the misleading premise they are a

“reputable” gold buyer that offers consumers a “fair profit for their wares.”

       C.     CashForGoldUSA’s Offered Payouts are a Small Fraction of the Amount
              Stated on the Gold Calculator

       109.   From 2020 to 2022, Plaintiff and its hired private investigator conducted several

test transactions to determine CashForGoldUSA’s offered payout price compared with the

spot price.

       110.   A customer service representative of CashForGoldUSA stated that it typically

offers between 70% and 90% of the spot price of gold. However, from 2020 to 2022, in six test

transactions involving measured quantities of gold, CashForGoldUSA offered approximately

30%, 33%, 33%, 33%, 36% and 42% of the spot price of gold. These offers included purported

“bonuses” of 10% in five cases and $50 in another.

       111.   These offers do not come close to an approximation of the displayed Gold

Calculator price or within the advertised 3% to 5% of the spot price of gold.

       112.   The results of these test transactions are confirmed by numerous consumers on

the internet complaining about “low ball” offers and deceptive pricing. Screenshots of online

consumer complaints about “low ball” offers are attached hereto as Exhibit 6.

       113.   From September 2020 through March 2022, at least eight customers who

contacted Plaintiff were enticed and deceived by CashForGoldUSA’s Gold Calculator.

Several customers asked Plaintiff to match the price displayed on the Gold Calculator,

believing it to be the actual payout offer from CashForGoldUSA. On one occasion, Plaintiff

lost a customer when she asked for her items back due to the amount depicted on the Gold

Calculator. Highlighted excerpts of these customer communications are attached hereto as

Exhibit 7.


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       114.   Additionally, three consumers recently complained about the Gold Calculator

on Google and TrustPilot.

       115.   In response to a Google review from Julie Howell, CashForGoldUSA

astonishingly admits the Gold Calculator is “confusing” and states that “it is most helpful

when someone needs to understand the resale value for insurance purposes.” No such

representation exists anywhere else on the internet. In fact, the company’s reply is contrary to

the numerous representations above indicating the Gold Calculator will approximate the

offer. Below are screenshots.




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       116.   CashForGoldUSA has actual knowledge that the “estimate” displayed on the

Gold Calculator is nowhere close to the actual offer, even with the supposed 10% bonus

applied. CashForGoldUSA has actual knowledge that the Gold Calculator is false and

misleading. Despite this knowledge, CashForGoldUSA actively deceives consumers by

misrepresenting the meaning of the Gold Calculator and a purported 10% “bonus.”

IV.    CashForGoldUSA Misrepresents and Overstates the Results of a Stale and
       Outdated Local News Segment that Aired Over Twelve Years Ago Using it to
       Claim that CashForGoldUSA Currently Pays “Three Times More” Than
       Competitors, Provides the “Highest Payouts,” and is the “Top Gold Buyer” in the
       Country

       117.   In 2009, Fox 5 DC, a local Washington, D.C. Fox affiliate, aired a segment

wherein it claimed to have compared the prices offered by three different mail-in precious

metals dealers by mailing the same necklace to each one (hereinafter, the “Fox 5 Segment”).

       118.   The   three   mail-in   precious   metals   dealers   were   BrokenGold.com,

Cash4Gold.com, and CashForGoldUSA. The purported offers are depicted in the below

screenshot.




       119.   Brokengold.com is no longer operational. Its website was last updated in 2008.

When called, the number leads to a real estate company.

       120.   Cash4gold.com went insolvent in 2012 and its assets were purchased by Direct

Holdings Global. In fact, CashForGoldUSA was “[a]mong those interested in purchasing the


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assets.”7 Today, the website serves as a landing page for GoldFellow.com.

        121.    Accordingly, not only is the Fox 5 Segment outdated, but the tested companies

are no longer “the competition” in 2022—and CashForGoldUSA has known this for quite

some time.

        122.    Despite these verifiable facts and a request by Plaintiff to discontinue use of the

Fox 5 Segment, CashForGoldUSA continues to unlawfully disseminate false and misleading

statements about the Fox 5 Segment in a concerted campaign to deceive consumers.

        123.    On its homepage, CashForGoldUSA prominently displays an embedded video

clip of the outdated Fox 5 Segment and states “FOX NEWS found we paid 3X more than

our competitors in an undercover investigation. watch:”. Below is a highlighted screenshot.




        124.    The above statement is literally false on its face, because the Fox 5 Segment did



7
 Primack, D. (2012). Pennies for Cash4Gold – Fortune. Retrieved 25 April 2022, from
https://fortune.com/2012/10/26/pennies-for-cash4gold/amp/


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not find that CashForGoldUSA pays “3x more than [its] competitors.” The Fox 5 Segment

claims that CashForGoldUSA paid only 1.76 times more than BrokenGold.com and 1.8

times more than Cash4Gold.com. Three times more would have been closer to $20.

       125.   Despite the foregoing, CashForGoldUSA publishes the following non-

exhaustive list of false and misleading statements connected to the Fox 5 Segment on

CashForGoldUSA.com:

              a. “We pay 3 times more cash for gold than our competitors, as confirmed by
                 Fox Business News.” See Ex. 4-13.

              b. “We pay about 3 times more than other online gold buyers, as confirmed
                 by Fox Business News.” See Ex. 4-16.

              c. “Cash for Gold USA guarantees that it will pay more than anyone else in
                 the cash for gold industry. This has been demonstrated in two different
                 independent studies; one conducted by Fox News and one conducted by
                 CashforGold-Scam.com.” See Ex. 4-21.

              d. “Fox News Found We Pay 3x MORE than the Competition!” See Ex. 4-21.

              e. “Fox News undercover investigation discovered we typically pay out 3x
                 more than our biggest competitor. That’s why we were named one of Inc.
                 500's fastest-growing companies in the United States.” See Ex. 4-25.

              f. “In an undercover investigation, FOX News found that we pay 3x more
                 cash than the competition.” See Ex. 4-24 and 4-30.

       126.   CashForGoldUSA states that it is “Rated the top gold buyer in the country by

Fox News” on Facebook and on its curated review website Shopper Approved. Below are

highlighted screenshots.




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       127.    CashForGoldUSA advertises in its Google search results that it pays three

times more than competitors and offers the highest payouts. Below are highlighted

screenshots.




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       128.   On its Facebook page, CashForGoldUSA publishes an advertisement that

states “WE PAY 3X MORE THAN COMPETITORS” and posts the following statement

above it: “That’s right, we pay not double but triple what the competitors would give you. All

done in a simple 3 step process!” Below is a highlighted screenshot.




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       129.   In its printed appraisal kits, CashForGoldUSA uses the Fox News logo

alongside the statement, “FOX NEWS found we pay 3X MORE than our competitors in an

undercover investigation.” Below is an excerpt from the printed appraisal it.




       130.   CashForGoldUSA has published and/or caused to be published variations of

its deceptive claim to superiority based on the Fox 5 Segment, concealed and failed to

prominently display the 2009 broadcast date, and misrepresented the source and content of

the Fox 5 Segment.

       131.   CashForGoldUSA has aggressively and deceptively deployed the Fox 5

Segment, concealed and failed to prominently display the original broadcast date, and

exploited Fox’s goodwill to convey the false impression that CashForGoldUSA is currently

and actually rated the top competitor in the country even though the Fox 5 Segment aired

over twelve years ago and did not name CashForGoldUSA the top competitor in the country.

       132.   CashForGoldUSA has exploited Fox News’s goodwill by stating that the

nationally known “Fox News” and “Fox News Business” conducted the investigation when

it was really a local Washington DC affiliate.

       133.   CashForGoldUSA misrepresents the results of the twelve-years old

investigation by making it appear that the Fox 5 Segment involved the current top competitors



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in the industry when cash4gold.com and brokengold.com no longer exist, and by overstating

the significance of a miniscule sample size.

       134.   Several potential customers contacted Plaintiff and confirmed they were

enticed and deceived by claims of superiority from the Fox 5 Segment, believing them to be

an accurate representation of CashForGoldUSA’s standing in the marketplace. Multiple

customers believed that CashForGoldUSA pays three times more than its current

competitors. Highlighted excerpts of these customer communications are attached hereto as

Exhibit 8.

       135.   Additionally, Plaintiff located an appraisal request dated October 22, 2020

from Barry Schneider, part owner of CashForGoldUSA. The address on file matched

CashForGoldUSA’s company address. In that transaction, Plaintiff offered and paid over

70% of the market value of a gold ring.

       136.   Thus, CashForGoldUSA has actual knowledge that Plaintiff paid over 70% of

the market value while CashForGoldUSA’s offers approach nowhere near that amount, as

confirmed in numerous test transactions and online complaints. CashForGoldUSA knows

that its claims to superiority are false, including claims that it has the highest payouts, pays

the “most,” and “3x more” than competitors.

       137.   Accordingly, the numerous pronouncements concerning the outdated, stale,

and irrelevant Fox 5 Segment are false and misleading and meant to lure consumers into

doing business with CashForGoldUSA.

V.     CashForGoldUSA Advertises a Deceptive and Misleading “5-Star Customer
       Rating” that is Entirely Based on Handpicked Reviews from Satisfied Customers

       138.   CashForGoldUSA.com states that CashForGoldUSA has a “5-Star Customer

Rating.” Additionally, CashForGoldUSA.com prominently displays the following at the top


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of each section:




       139.    The purported “5-Star Customer Rating” is derived from customer reviews

submitted through a paid third-party review provider called Shopper Approved.

       140.    As of April 17, 2022, of the 348 “verified” customer reviews, 341 of them are

5-stars, 5 are 4-stars, 1 is 3-stars, 1 is 2-stars, and 0 are 1-star. Below is a screenshot.




       141.    As of January 26, 2022, “Cash for Gold USA” had 28 Google reviews with a

1.6 star average rating. As discussed below, shortly after the removal of the Fraudulent

Website from the internet, CashForGoldUSA curiously removed its Google Review page and

replaced it with a new one. As of April 17, 2022, the “new” Google Review page has 20

Google reviews with a 4.9 star average rating.

       142.    As of January 26, 2022, “CJ Environmental, Inc.” had 39 total Google reviews

with a 1.9 star average rating. Ever since the removal of the Fraudulent Website from the

internet, the company has curiously received an additional 49 reviews as of April 17, 2022—

most of them 5 stars. As of April 17, 2022, CJ Environmental, Inc. now has 88 reviews and a

3.5 star average rating.


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       143.   Further, as of April 17, 2022, 14% of the 115 Trustpilot reviews are 1-Star

reviews, 4 out of 6 Sitejabber reviews are 1-star, and the Better Business Bureau had 49

complaints closed in the last 3 years and 11 complaints closed in the last 12 months.

       144.   Accordingly, not only is CashForGoldUSA gaming its Google reviews, but it

strains credulity that CashForGoldUSA would have zero 1-star reviews, one 2-star review, and

one 3-star review in the Shopper Approved reviews prominently advertised on

CashForGoldUSA.com.

       145.   This is because CashForGoldUSA uses a “gamed” Shopper Approved review

system to counteract the negative reviews it receives online.

       146.   CashForGoldUSA is not a typical business that receives payment from customers

for items or services. Instead, it sends payments to customers who decide to accept

CashForGoldUSA’s payout offers. CashForGoldUSA is able to achieve a “5-Star Customer

Rating” on Shopper Approved, because the system cannot be accessed by those who do not

transact with the merchant. Thus, consumers who reject insultingly low payout offers have

no option to leave a review in the Shopper Approved review system, because they were never

considered “customers” in the first place.

       147.   Numerous consumer complaints reference the inability to leave a review with

Shopper Approved. Screenshots of consumer complaints are attached hereto as Exhibit 9.

       148.   A review from “Robert L.” confirms that he accidentally accepted a “low ball”

offer and the Shopper Approved review system would not allow him to leave a 1-star, 2-star,

or even a 3-star review. Below is an annotated screenshot.




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      149.   Additionally, potential customers have confirmed to Plaintiff that they were

unable to leave reviews on CashForGoldUSA’s Shopper Approved review system.

      150.   Incredibly, one consumer states in a Better Business Bureau complaint that

CashForGoldUSA “agreed to match my offer from the local gold shop, but only if I would

give Cash for Gold [USA] a good review.” Below is a highlighted screenshot.




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       151.   Another customer confirms that CashForGoldUSA offered her a $25 gift card

if she removed her 1-star review, which, she states, “they seem to have managed to remove

on their own.” Below is a highlighted screenshot.




       152.   CashForGoldUSA is so desperate to counteract negative reviews it appears that

its own Vice President Cory Schneider brazenly posts fraudulent 5-star reviews on Google

Reviews, Sitejabber.com, and TrustPilot.com. Below are screenshots.




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       153.   One of the above reviews is an “invited” review posted on TrustPilot. In other

words, it purports to come from an actual customer. Accordingly, it is unknown how many

of the dozens of “invited” TrustPilot reviews are similarly fraudulent.

       154.   Thus, upon information and belief, the Shopper Approved Reviews and other

internet reviews likely include numerous phony ratings to pump up CashForGoldUSA’s

standing.




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       155.   Accordingly, CashForGoldUSA uses a deceptive and misleading ecosystem of

handpicked and fraudulent reviews to lure consumers into believing it is a highly rated

reputable company when it is not.

VI.    CashForGoldUSA Deceptively Removed and Replaced its Google Review Page

       156.   As of January 26, 2022, CashForGoldUSA’s Google Review page had 28

reviews and a 1.6 star average rating.

       157.   Shortly after the removal of the Fraudulent Website from the internet,

CashForGoldUSA curiously removed its Google Review page and replaced it with a new

one. A publicly “clean slate” for its questionable reputation.

       158.   Within days of its creation, as of February 23, 2022, the “new” Google Review

page already had 8 reviews and a 4.9 star average rating. As of April 17, 2022, it has 20 reviews

and a 4.9 star average.

       159.   Upon information and belief, based on a test transaction conducted by Plaintiff,

CashForGoldUSA’s representatives ask customers if they had a favorable experience.

CashForGoldUSA sends a link to the “new” Google Review page and asks for reviews only

if the customer responds favorably.

       160.   Additionally, upon information and belief, based on the ongoing deceptive

conduct alleged herein, it is likely that some of the reviews are phony.

       161.   Accordingly, the scrubbing and replacement of the “old” Google Review page

is yet another deceptive act by CashForGoldUSA to trick consumers into believing that

CashForGoldUSA has a favorable standing in the marketplace.

VII.   CashForGoldUSA Advertises a Non-Existent “Price Match Guarantee”




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       162.   CashForGoldUSA prominently advertises a “Price Match Guarantee” on the

homepage of CashForGoldUSA.com. Below is a screenshot.




       163.   CashForGoldUSA        prominently    states   “We   Pay   More   Than    Our

Competitors—Guaranteed” in the “Gold Price Today in the USA” section of the website.

Below is a screenshot.




       164.   Directly below the above statement, CashForGoldUSA states that “Cash for

Gold USA guarantees that it will pay more than anyone else in the cash for gold industry.”

       165.   There are no disclaimers about these statements located anywhere near them.

       166.   CashForGoldUSA propagates the “Price Match Guarantee” by advertising it

in Google search results. Below is a highlighted screenshot.




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          167.    However, buried deep in a separate terms and conditions page,8

CashForGoldUSA displays the following text concerning its purported “Price Match

Guarantee” (highlighted):




          168.    This statement buried deep on a separate terms and conditions page contradicts

CashForGoldUSA’s material representation that it will “match any competitors offer

GUARANTEED” and that its “payouts can’t be beat.”

          169.    Additionally, as stated in paragraph 150 herein, on at least one occasion,

CashForGoldUSA placed an undisclosed condition on this purported “guarantee” by forcing

a customer to leave a positive review before agreeing to match a competitor’s price.

          170.    Accordingly, CashForGoldUSA’s “Price Match Guarantee” is not a guarantee

at all. It is a false and misleading statement meant to lure consumers to conduct business with

CashForGoldUSA.

VIII. CashForGoldUSA Advertises a Non-Existent “Gold Price Maximizer” Guarantee

          171.    In response to a cease-and-desist letter, it appears that CashForGoldUSA has

discontinued        publication    of   a    fraudulent   “Gold   Price   Maximizer.”   However,

CashForGoldUSA’s deceptive conduct is entirely relevant to its overall fraudulent scheme

and it should be held liable for its years of deception.




8
    Available at https://cashforgoldusa.com/terms/


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       172.     The “Gold Price Maximizer” was a vague and impossible commitment made

to consumers.

       173.     Before it was deleted from the website, CashForGoldUSA described the “Gold

Price Maximizer” as follows:

                      “In addition to our industry leading payouts, we offer a
                      Gold Price Maximizer. This means that if the price of
                      gold goes up at any time in the 30 days after your check
                      is written, we will send you an additional check for the
                      current market value of your materials.”

       174.     Before deleting it from the website, CashForGoldUSA prominently advertised

its “Gold Price Maximizer” commitment by and through paid Google Ad Words placements.

Here is an example:




       175.     In test transactions conducted by Plaintiff in 2020 and 2021, CashForGoldUSA

did not send additional checks when the price of gold increased in the thirty days after the

initial checks were written.

       176.     In one instance, CashForGoldUSA’s representative confirmed the terms of the

“Gold Price Maximizer” but it was still never paid.

       177.     Additionally, the “Gold Price Maximizer” commitment is vague, misleading,

and impossible to honor in the first place. It is not clear from CashForGoldUSA’s statement

under what circumstances it would send a follow-up check.




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           178.    Based on the language used, CashForGoldUSA should have sent a check if the

price of gold increased at any point during the thirty days after a payout check was issued—

even if the price subsequently dropped within those thirty days. If the price went up on

multiple days, it is conceivable that CashForGoldUSA would have issued multiple

subsequent checks to a consumer. Many of these checks would have been for pennies.

           179.    CashForGoldUSA could not have honored the “Gold Maximizer” and it was

a false and misleading representation that deceived consumers and lured them away from

competitors like Plaintiff.

IX.        CashForGoldUSA Uses its Own Websites and Affiliate Marketing Websites to
           Repeat and Flood the Internet with the Foregoing Deceptive and Misleading
           Claims

           180.    CashForGoldUSA             owns       and      operates       CashForDentalScrap.com,

CashForDiamondsUSA.com, and CashForSilverUSA.com; and republishes the foregoing

false and misleading statements on these websites and in their internet search descriptions.

           181.    Additionally,       CashForGoldUSA            publishes   a     registration   form   on

CashForGoldUSA.com, which allows third party websites to register as affiliate marketers.

           182.    CashForGoldUSA states that it “offer[s] an aggressive affiliate marketing

program that rivals [its] competitors.”9

           183.    Using the unique identifying “CID” tracking numbers previously discussed

herein, these third parties are compensated by CashForGoldUSA for all completed

transactions sourced from their websites.

           184.    CashForGoldUSA has numerous affiliate marketing relationships with third

party websites. The most notable examples are defendant WealthySingleMommy, Survive


9
    Available at https://cashforgoldusa.com/affiliate-registration/


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Divorce, Top Consumer Reviews, Mega Income Streams, GOBankingRates, and Millennial

Money.

       185.   Additionally,   CashForGoldUSA        has   “sponsored”    articles   in   online

newspapers, including the San Francisco Examiner.

       186.   These websites have sections dedicated to marketing CashForGoldUSA’s

services. Example screenshots of deceptive statements re-published by these websites are

attached hereto as Exhibit 10.

       187.   For example:

              a. WealthySingleMommy parrots the fraudulent Paid to Date counter by
                 stating CashForGoldUSA “has paid out more than $158 million” and then
                 “more than $165 million in payouts to customers.” See Ex. 10, pp. 1, 2, and
                 4.
              b. The websites refer to the Gold Calculator and make it appear as if it will
                 provide an accurate approximation of the anticipated payout.

              c. The websites refer to the deceptive and non-existent 10% “bonus.”

              d. The websites refer to the defunct Fox 5 Segment by calling it “Fox News”
                 or “Fox Business News” and state that CashForGoldUSA pays “3X” its
                 competitors.

              e. The websites refer to the deceptive and misleading “Price Match
                 Guarantee” and guaranteed “Highest Payouts.”

              f. The websites refer to the non-existent “Gold Price Maximizer.”

       188.   The statements published by these websites appear in Google search

descriptions, and further mislead consumers who typically have little to no experience selling

their gold items online.

       189.   The CashForGoldUSA.com website states that CashForGoldUSA provides

“tested and proven marketing materials” to its affiliates, including “Tested and Proven Ad




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words Samples,” “Videos,” and “Creative Banner Ads.”10 Below is a highlighted screenshot.




           190.     Accordingly, CashForGoldUSA admits that it is responsible for the content of

these republished false and misleading statements, and it should be held accountable for

knowingly disseminating false, deceptive, and misleading statements via third-party affiliate

marketing websites visited by millions of consumers.

X.         CashForGoldUSA Colludes with WealthySingleMommy to Conduct a Sham Test
           Transaction for Publication on WealthySingleMommy.com

           191.     WealthySingleMommy is an affiliate marketing website owned and operated

by Emma Johnson.

           192.     WealthySingleMommy partners with affiliate businesses to advertise products

and services to visitors of WealthySingleMommy.com.

           193.     WealthySingleMommy earns a commission or referral bonus every time a

visitor clicks on an affiliate link.


10
     Available at https://cashforgoldusa.com/about/affiliates/


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       194.    Pursuant to Sitechecker.pro, a website that monitors website traffic, the WSM

website is heavily trafficked and averages nearly 185,000 visitors per month. Below is a

screenshot of the results as of April 3, 2022.




       195.    WealthySingleMommy has been in an affiliate marketing relationship with

CashForGoldUSA for at least two years. Thus, CashForGoldUSA receives a significant

amount of site traffic from WealthySingleMommy visitors.

       196.    In fact, “How to sell gold for cash online” is listed under “Most Popular Posts”

on WealthySingleMommy.com. Below is a highlighted screenshot.




       197.    When that link is clicked, the visitor is sent to a webpage located at

https://www.wealthysinglemommy.com/sell-gold/,           wherein   the   website   states   the

following, with a hyperlink to CashForGoldUSA.com:

               “Below is an overview for how to sell gold and also a look at the
               best ways to sell gold, including our No. 1 recommendation


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               when it comes to selling your gold, which is
               the CashforGoldUSA, which pays within 24 hours and has an
               A+ rating with the BBB.”

       198.    On this page, WealthySingleMommy confirms that “[w]e get commissions for

purchases made through links in this post.”

       199.    On this page, as stated above, WealthySingleMommy parrots various deceptive

statements about CashForGoldUSA including the following: (i) that the Gold Calculator

value is an “estimate,” (ii) that CashForGoldUSA offers the “guaranteed highest price,” (iii)

that CashForGoldUSA “paid out more than $156 million to sellers since being founded in

2005,” and (iv) “Fox Business News investigation found they pay 3X competitors.”

Additionally, WealthySingleMommy embeds a video of the Fox 5 Segment, does not

mention the date of the “investigation” or that none of the tested companies even exist.

       200.    In addition to these deceptive statements, the webpage chronicles a purported

mystery shopper style “experiment” conducted by Emma Johnson called “Emma’s personal

experience.”

       201.    In the experiment, Ms. Johnson claims that she comparison “secret” shopped

identical 14K, 6-gram gold chain necklaces to a local jewelry store, a pawn shop, a cash-for-

gold shop, and three online gold buying companies including CashForGoldUSA.

       202.    Ms. Johnson claims that CashForGoldUSA provided the best offer of $191.97.

This amount is $110 above the closest “tested” online competitor SellYourGold.com.

       203.    Another       section       of       the       website,       located       at

https://www.wealthysinglemommy.com/cash-for-gold-usa-review/, provides additional

details about the transaction with CashForGoldUSA. A complete copy of this website page

is attached hereto as Exhibit 11.



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       204.   In that section, Ms. Johnson reveals that she relied on the Gold Calculator

“estimate” before shipping the necklace, which stated it was worth $205.13. Accordingly,

CashForGoldUSA’s purported offer was close to a whopping 94% of the “estimate” depicted

on the Gold Calculator.

       205.   Ms. Johnson documented the transaction by posting various progress photos,

including a photograph of CashForGoldUSA’s appraisal kit. Below is a screenshot of the

posted photograph.




       206.   As set forth above, Ms. Johnson took care to redact the customer information

from the FedEX envelope and the Ziplock bag. However, she failed to completely redact all

of it. Here is a magnified screenshot of the customer information on the Shipping Pak label:


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       207.    Clearly, WealthySingleMommy used the name and personal address of its

founder “Emma Johnson” to conduct the purportedly anonymous “experiment.”

Interestingly, for the other test transactions not involving CashForGoldUSA, Ms. Johnson

states that she used “secret” shoppers.

       208.    As set forth above, WealthySingleMommy and CashForGoldUSA have an

ongoing affiliate marketing relationship for at least two years. Additionally, Emma Johnson’s

name and likeness appears all over the heavily trafficked WealthySingleMommy.com

website.

       209.    Plaintiff hired a private investigator to replicate Ms. Johnson’s “experiment.”

After conducting two test transactions, he received two paltry offers each below 35% of the

Gold Calculator value. The investigator also discovered that Ms. Johnson misrepresented the

attributes of the tested necklace, by falsely claiming it was similar to a specifically identified

Kay Jeweler’s necklace that weighed significantly less than 6 grams.

       210.    Accordingly, CashForGoldUSA obviously knew the appraisal kit came from

the founder of its heavily trafficked affiliate WealthySingleMommy. This explains why

CashForGoldUSA offered an astonishing 94% of the Gold Calculator (market) value.

CashForGoldUSA and WealthySingleMommy knew these fraudulent results would inflate


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CashForGoldUSA’s reputation, generate more clicks for CashForGoldUSA.com, and result

in more income for both entities.

XI.    CashForGoldUSA Employs a Low-Ball Bait and Switch Scheme

       211.   CashForGoldUSA uses the foregoing false, deceptive, and misleading tactics

in tandem to lure consumers into sending their valuable items for appraisal.

       212.   Participating customers, many of whom are first-time sellers who do not know

the true value of precious metals, send their items for appraisal under the false impression that

they will receive an offer somewhere close to the value depicted on the Gold Calculator.

       213.   Participating consumers are led to believe that they are transacting with a

highly rated, well-respected Fox News-endorsed precious metals dealer that offers three-times

more than its competitors, and the guaranteed highest payouts in the industry.

       214.   After the transaction, consumers falsely believe that they will receive additional

payments if the value of their items increase over the next thirty days.

       215.   Contrary to the representations made by CashForGoldUSA, based on the

numerous online customer complaints including those referenced above and attached hereto

as Exhibit 12, and Plaintiff’s own test transactions, CashForGoldUSA has a practice of

offering prices that are substantially below market value, nowhere near the “estimate” shown

on the Gold Calculator, and certainly not even close to the “3X More Than Competitors”

advertised all over the internet—all with the expectation that many of these offers will be

accepted by inexperienced consumers.

       216.   Based on the online customer complaints and the insultingly low offers

revealed in Plaintiff’s own testing, many of these customers accept CashForGoldUSA’s low




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initial offers, which testing revealed hovers around 30% to 42% (10% bonus included), without

negotiation or discussion.

       217.    Based on the online customer complaints, if a customer seeks the return of

items sent to CashForGoldUSA, CashForGoldUSA makes it extremely difficult and time

consuming for its customers, and often does not respond to communications unless and until

a complaint is filed with the Better Business Bureau.

       218.    The valuable items are held hostage and the customer is lulled into accepting

the insultingly low-balled offer or a slight increase in the offered payout price.

       219.    Accordingly, ordinary consumers who are not well-versed in the pricing of

precious metals unknowingly accept low-ball offers that are nowhere near the advertised “3X

More Than Competitors” or the “highest payouts” in the industry.

                                FIRST CLAIM FOR RELIEF
                                  False Advertising Under
                               Lanham Act, 15 U.S.C. § 1125(a)

       220.    Plaintiff repeats and realleges the allegations set forth in the preceding

paragraphs as if fully set forth herein.

       221.    Defendants, in connection with services rendered in interstate commerce have

made and/or continue to make false statements of fact and false representations of fact as to

the nature, characteristics, and quality of CashForGoldUSA’s services.

       222.    Defendants’ false statements of fact and false representations of fact in

promoting the services of CashForGoldUSA are false and misleading in violation of Section

43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       223.    Defendants’ false and misleading statements of fact and misrepresentations of

fact concerning CashForGoldUSA’s services were made, and/or continue to be made, in



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commercial advertising, promotions, and direct communications with consumers in a manner

material to the public's decision to use CashForGoldUSA’s services instead of those of its

competitors, including Plaintiff.

       224.   Defendants’ false and misleading statements are commercial advertisements

and promotional materials that Defendants have placed into interstate commerce in

connection with the marketing of CashForGoldUSA’s services.

       225.   The above-described acts of Defendants actually deceived, or have the tendency

to deceive, a substantial segment of consumers who see or hear such representations,

including but not limited to Plaintiff’s customers and prospective customers.

       226.   The above-described acts of Defendants are material, in that they were and are

likely to influence a consumer’s purchasing decision.

       227.   Plaintiff directly competes with CashForGoldUSA in the mail-in precious

metals industry.

       228.   As a result of Defendants’ false and misleading advertising, Plaintiff has

suffered a direct diversion of customers to CashForGoldUSA and has been and will be

deprived of substantial revenue in an amount to be determined at trial.

       229.   Defendants have caused, and will continue to cause, immediate and irreparable

injury to Plaintiff, including injury to its business, reputation and good will, for which there

is no adequate remedy at law. As such, Plaintiff is entitled to an injunction under 15 U.S.C.

§ 1116 restraining CashForGoldUSA, their agents, employees, representatives and all persons

acting in concert with them, including WealthySingleMommy, Steer, Brown, and Toutain,

from engaging in further acts in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §

1125(a) and ordering removal of all of Defendants’ false advertising.




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          230.   Plaintiff is entitled under 15 U.S.C. § 1117 to actual damages to be determined

at trial, to have such damages trebled, to disgorgement of Defendants’ profits, and costs of the

action.

          231.   Defendants have acted in bad faith and has knowingly, willfully, and

deliberately engaged in false advertising with the intent to deceive the public and injure its

competitors, including Plaintiff. Thus, in addition to the relief requested herein, Plaintiff is

entitled to reasonable attorney's fees pursuant to 25 U.S.C. § 1117(a).

                              SECOND CLAIM FOR RELIEF
                             Deceptive Acts and Practices Under
                            New York General Business Law § 349

          232.   Plaintiff repeats and realleges the allegations set forth in the preceding

paragraphs as if fully set forth herein.

          233.   As described above, Defendants have engaged in a multi-year consumer-

oriented pattern and practice aimed at the public at large by embarking on a comprehensive

fraudulent scheme to deceive consumers by, inter alia, falsely advertising CashForGoldUSA’s

services; and by using fraudulent “independent” websites, a misleading “Gold Calculator,” a

fraudulent “Paid to Date” counter, a stale, outdated, and factually incorrect local news

segment, a corrupt consumer review system, and a fraudulent “secret shopper” style

“experiment.”

          234.   Consumers have suffered injury in that (1) Defendants have materially misled

unsophisticated consumers by luring them through false and misleading advertising and

inducing them into unknowingly accepting significantly low offers by using the deceptive

tactics and practices alleged herein; and (2) CashForGoldUSA has engaged in a deceptive

scheme whereby it lured unsophisticated consumers to send their gold items by, among other



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things, advertising that CashForGoldUSA pays three times more than its competitors, and

instead making egregiously low-ball offers that are nowhere near three times more than its

competitors to consumers who are unlikely to know the true value of their gold. Within the

scheme, CashForGoldUSA makes it easy for consumers to accept but difficult to reject the

low-ball offers while maintaining possession of consumer's valuable items, lulling consumers

into acceptance of the same or marginally better offers that are still well below its advertised

highest payouts in the industry.

       235.    As a result of Defendants’ acts, Plaintiff, as a competitor of CashForGoldUSA,

has suffered and will continue to suffer damages to its business reputation and goodwill and

the loss of customers.

       236.    Defendants’ conduct is willful because they knew that the false and

misleading representations were materially false and CashForGoldUSA has a history of

engaging in a deceptive scheme.

       237.    The above-described acts constitute deceptive acts and practices, in violation

of Section 349 of the New York General Business Law.

                              THIRD CLAIM FOR RELIEF
                             Unfair or Deceptive Trade Practices
                            Massachusetts General Laws 93A § 11

       238.    Plaintiff repeats and realleges the allegations set forth in the preceding

paragraphs as if fully set forth herein.

       239.    Pursuant to Massachusetts General Laws 93A § 2 “[u]nfair methods of

competition and unfair or deceptive acts or practices in the conduct of any trade or commerce

are hereby declared unlawful.”

       240.    As described above and more particularly in the Second Claim for Relief,



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Defendants have willfully and knowingly engaged in unfair or deceptive acts or practices.

       241.    These acts and practices are unfair and deceptive in material respects, offend

public policy, are immoral, unethical, oppressive and unscrupulous.

       242.    These above above-described acts constitute deceptive trade practices, in

violation of Massachusetts General Laws 93A § 11.

                         FOURTH CLAIM FOR RELIEF
                            False Advertising Under
                       New York General Business Law § 350

       243.    Plaintiff repeats and realleges the allegations set forth in the preceding

paragraphs as if fully set forth herein.

       244.    As described above, Defendants have engaged in false advertising under the

Lanham Act and Plaintiff has been thereby injured.

       245.    Consumers have actually and reasonably relied on Defendants’ false

advertising.

       246.    The above-described acts constitute false advertising in violation of Section 350

of the New York General Business Law.

                                 FIFTH CLAIM FOR RELIF
                                     Unfair Competition

       247.    Plaintiff repeats and realleges the allegations set forth in the preceding

paragraphs as if fully set forth herein.

       248.    As described above, Defendants have acted in bad faith and have knowingly,

willfully, and deliberately engaged in the above-described false advertising and deceptive

acts and practices, with the intent to injure Plaintiff and deceive the public.




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       249.     Defendants have damaged Plaintiff by engaging in false advertising and other

deceptive acts and practices by, among other things, causing customers to offer their items to

CashForGoldUSA instead of Plaintiff, thereby reducing Plaintiff’s market share.

                                SIXTH CLAIM FOR RELIEF
                                    Unjust Enrichment

       250.     Plaintiff repeats and realleges the allegations set forth in the preceding

paragraphs as if fully set forth herein.

       251.     Defendants have received significant revenue from transactions with

consumers who relied on the false and misleading Fraudulent Website which “ranked”

Plaintiff near the bottom of a list of competitors and the fraudulent “secret shopper” style

“experiment.”

       252.     Thus, Plaintiff’s own transactions were diverted as a result of Defendants’

publication of the Fraudulent Website and fraudulent “secret shopper” style “experiment.”

       253.     Defendants have been unjustly enriched and should not be permitted to retain

those ill-gotten gains.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment against Defendants as

follows:

              A. For preliminary and permanent injunctive relief:

                       i. Enjoining Defendants and their agents and affiliates from publishing

                          or causing the publication of the false and misleading claims and

                          statements herein, including: (1) the Fraudulent Website, (2) the

                          “Paid to Date” counter and claims arising therefrom, including false

                          statements concerning the total amount paid out to customers; (3) the


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              Gold Calculator and claims arising therefrom, including that it

              provides an estimate or approximation of the offer; (4) the Fox 5

              Segment and claims arising therefrom, including that Defendant

              pays three times more than competitors and provides the “highest

              payouts,” Fox News and Fox Business News produced the Fox 5

              Segment, and the Fox 5 Segment is a recently broadcast current

              representation of CashForGoldUSA’s standing in the industry; (5)

              the deceptive and fraudulent customer reviews, including the

              Shopper Approved reviews; (6) the “Price Match Guarantee”; (7)

              “Gold Price Maximizer”; (8) WealthySingleMommy’s fraudulent

              “secret shopper” style “experiment”; and (9) references to

              “CashForGold-Scam.com.”

           ii. Enjoining Defendants from engaging in the deceptive low-ball bait

              and switch scheme described herein;

          iii. Requiring Defendants to issue appropriate corrective advertisements,

              reasonably designed to reach all people to whom their false and

              misleading advertising were disseminated, and retracting all of the

              foregoing false and misleading claims and statements; and

          iv. Requiring Defendants to remove, recall, and destroy all marketing

              and advertising materials that contain all of the foregoing false and

              misleading claims and statements.

  B. For monetary relief in the form of:




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                     i. Compensatory damages under 15 U.S.C. § 1117 and state law for all

                        injuries to Plaintiff caused by Defendants’ acts alleged herein;

                    ii. An award of Defendants’ profits under 15 U.S.C. § 1117 and state

                        law;

                    iii. Punitive damages;

                    iv. Enhanced or treble damages under 15 U.S.C. § 1117 and state law;

                     v. Attorney's fees and costs under 15 U.S.C. § 1117 and state law;

                    vi. Prejudgment and post-judgment interest; and

           C. For such other and further relief as the Court deems just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff hereby demands trial by jury for all issues so triable.

DATED: April 30, 2022
                                                   /s/ Kamran F. Hashmi
                                                   Kamran F. Hashmi, Esq.
                                                   Hashmi Law Firm
                                                   The Hoyt-Potter House
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                                                   Attorneys for Plaintiff Express Gold Cash, Inc.




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                                       VERIFICATION

       I, Demitrios Kolokouris, verify that I am the Vice President of Express Gold Cash,

Inc., Plaintiff in this proceeding, and that the facts set forth in the Verified Complaint are true

and correct to the best of my knowledge, information, and belief, except (1) where expressly

stated to be based upon information and belief, in which case, I believe them to be true, and

(2) legal conclusions, for which I expressly defer to Plaintiffs counsel. I understand that false

statements herein are subject to the penalties of 28 U.S.C. § 1746 relating to sworn

declarations to authorities.

        April 30, 2022_
Dated: ______


                                                             Demitrios Kolokouris
                                                             Vice President
                                                             Express Gold Cash, Inc.
